    Case:18-03441-ESL13 Doc#:19 Filed:12/12/18 Entered:12/12/18 16:33:45                                                            Desc: Main
                        IN THE UNITED STATES BANKRUPTCY
                                  Document   Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

ANTONIO ALEXIS ADORNO GONZALEZ                                                               CASE NO. 18-03441-ESL
                                                                                             CHAPTER 13
   DEBTOR(S)
                                                                                                **AMENDED DOCUMENT**

                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. A meeting of creditors pursuant to Section 341 was held on 07/31/2018. The meeting was (was not) duly attended by
debtor(s) and their attorney.

2. The liquidation value of the estate is: $3,777 (PV $4,381)

3. With respect to the attached payment plan:


               AMENDED PLAN DATE: June 19, 2018                                               PLAN BASE: $33,648.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 12/12/2018
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] FEASIBILITY 11 USC § 1325(a)(6):

   To pay secured creditors and priorities.


  2. [X] FAILS DISPOSABLE INCOME TEST § 1325(b)(1)(B):

  SCMI Form 122C-1 line 5 disclose business expenses. This has an impact in the applicable commitment
period. b. Schedule "I" disclose a net income of $2,090.16 and SCMI disclose net income of $1,290.59, however,
per evidence of income submitted it is $548.49.




  [X] OTHER:

  a. Debtor has failed to provide evidence of income for December 2017 as part of the 6 months prior filing and
June 2018 as part of the 60 days period. The evidence of income needs to include gross income, expenses and
net income. trustee informs that the evidence provided only include net income. b. eeds to provide evidence of
public liability insurance.


NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Pedro R Medina
                                                                                        Pedro R Medina
Atty: ROBERTO FIGUEROA                                                                  USDC #226614
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - EN
